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		OSCN Found Document:COLE v. STATE

					

				
  



				
					
					
						
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				COLE v. STATE2021 OK CR 28Case Number: PCD-2020-529Decided: 10/07/2021BENJAMIN ROBERT COLE, SR., Petitioner v. THE STATE OF OKLAHOMA, Respondent
Cite as: 2021 OK CR 28, __  __

				

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OPINION DENYING POST-CONVICTION RELIEF AND 
DENYING MOTION TO STAY PROCEEDINGS

LUMPKIN, JUDGE:


¶1 Benjamin Robert Cole, Sr. was tried by jury and convicted of First Degree Murder in the District Court of Rogers County, Case No. CF-2002-597. In accordance with the jury's recommendation the Honorable J. Dwayne Steidley sentenced Petitioner to death. Petitioner appealed his conviction and sentence in Case No. D-2004-1260, and this Court denied relief. Cole v. State, 2007 OK CR 27, 164 P.3d 1089. Petitioner previously sought post-conviction relief and was denied the same by this Court. See Cole v. State, Case No. PCD-2005-23 (Okl.Cr. Jan. 24, 2008)(unpublished) and Cole v. State, Case No. PCD-2020-332 (Okl.Cr. May 29, 2020)(unpublished). For the third time, Petitioner seeks post-conviction relief from this conviction and sentence.

¶2 The Capital Post-Conviction Procedure Act, 22 O.S.2011, § 1089(D)(8) provides for the filing of successive post-conviction applications. The statutes governing our review of second or successive capital post-conviction applications provide even fewer grounds to collaterally attack a judgment and sentence than the narrow grounds permitted in an original post-conviction proceeding. Sanchez v. State, 2017 OK CR 22, ¶ 6, 406 P.3d 27, 29.

¶3 In his sole proposition, Petitioner claims the District Court of Rogers County lacked jurisdiction to try him. Petitioner argues that his daughter, B.C., had some quantum of Cherokee blood and her murder occurred within the boundaries of the Cherokee Nation. He relies upon McGirt v. Oklahoma, 591 U.S. __, 140 S. Ct. 2452 (2020), in support of his claim.

¶4 Although this Court initially granted Petitioner relief based upon this proposition after an evidentiary hearing in district court,1 we subsequently decided State ex rel. Mark Matloff, District Attorney v. The Honorable Jana Wallace, Associate District Judge, 2021 OK CR 21, __ P.3d __, and denied retroactive application of McGirt to cases on collateral review. Thereafter, prior to issuance of the mandate, the order granting post-conviction relief was withdrawn in this case.2

¶5 In Matloff, we began our consideration of the retroactivity issue by finding, "McGirt announced a rule of criminal procedure . . . to recognize a long dormant (or many thought, non-existent) federal jurisdiction over major crimes committed by or against Indians in the Muscogee (Creek) Reservation." Id., at ¶ 26. This rule affected only the method of deciding a criminal defendant's culpability, therefore, it was a procedural ruling. Id., at ¶ 27. We further found that the McGirt rule was new because it broke new ground, imposed new obligations on both the state and the federal governments and the result was not required by precedent existing when the conviction at issue in Matloff was final. Id., at ¶ 28.

¶6 In reaching our decision on the non-retroactivity of McGirt, this Court held that our authority under state law to constrain the collateral impact of McGirt and its progeny "is consistent with both the text of the opinion and the Supreme Court's apparent intent . . . The Supreme Court itself has not declared that McGirt is retroactive to convictions already final when the ruling was announced." Id., at ¶ 33. Ultimately, we held in Matloff that "McGirt and our post-McGirt reservation rulings shall not apply retroactively to void a final state conviction . . ." Id., at ¶ 40.

¶7 Applying Matloff to the instant case, we find Petitioner's claim in this successive post-conviction proceeding warrants no relief.

DECISION

¶8 Petitioner's Application for Post-Conviction Relief and Motion for Stay of Proceedings are DENIED. Pursuant to Rule 3.15, Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.18, App. (2021), the MANDATE is ORDERED issued upon the delivery and filing of this decision.

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			APPEARANCES AT EVIDENTIARY HEARING

			MICHAEL W. LIEBERMAN
			THOMAS D. HIRD
			ASST. FEDERAL PUBLIC DEFENDERS
			215 DEAN A. MCGEE AVE., #707
			OKLAHOMA CITY, OK 73102
			COUNSEL FOR PETITIONER

			MATTHEW J. BALLARD
			DISTRICT ATTORNEY
			210 W. DELAWARE, STE. 202
			VINITA, OK 74301
			COUNSEL FOR RESPONDENT

			MIKE HUNTER
			ATTORNEY GENERAL OF OKLAHOMA
			RANDALL YOUNG
			JULIE PITTMAN
			ASST. ATTORNEYS GENERAL
			313 N.E. 21ST ST.
			OKLAHOMA CITY, OK 73015
			COUNSEL FOR RESPONDENT

			SARA HILL
			CHRISSI NIMMO
			CHEROKEE NATION, OFFICE OF
			THE ATTORNEY GENERAL
			P.O. BOX 1533
			TAHLEQUAH, OK 74465
			COUNSEL FOR THE CHEROKEE NATION
			
			
			APPEARANCES ON APPEAL

			MICHAEL W. LIEBERMAN
			THOMAS D. HIRD
			ASST. FEDERAL PUBLIC DEFENDERS
			215 DEAN A. MCGEE AVE., #707
			OKLAHOMA CITY, OK 73102
			COUNSEL FOR PETITIONER

			MIKE HUNTER
			ATTORNEY GENERAL
			OF OKLAHOMA
			RANDALL YOUNG
			ASST. ATTORNEY GENERAL
			313 N.E. 21ST ST.
			OKLAHOMA CITY, OK 73105
			COUNSEL FOR RESPONDENT
			
		
	



OPINION BY LUMPKIN, J.
ROWLAND, P.J.: Concur
HUDSON, V.P.J.: Concur
LEWIS, J.: Concur



FOOTNOTES


1 Cole v. State, 2021 OK CR 10, 492 P.3d 11.



2 Cole v. State, 2021 OK CR 26, __ P.3d __.




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	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2021 OK CR 32, COLE v. STATECited


	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2007 OK CR 27, 164 P.3d 1089, COLE v. STATEDiscussed
&nbsp;2017 OK CR 22, 406 P.3d 27, SANCHEZ v. STATEDiscussed
&nbsp;2021 OK CR 10, 492 P.3d 11, WITHDRAWNCited
&nbsp;2021 OK CR 21, STATE ex rel. MATLOFF v. WALLACECited
&nbsp;2021 OK CR 26, 495 P.3d 670, COLE v. STATECited
Title 22. Criminal Procedure
&nbsp;CiteNameLevel

&nbsp;22 O.S. 1089, Post-Conviction Relief for Death Penalty Conviction - Grounds for AppealCited


	
	








				
					
					
				

		
		




	
		
			
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